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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


WATERWAYS TOWING & OFFSHORE                           *
SERVICES, INC.                                        *
                                                      *
         Plaintiff,                                   *      Civil Action No. 24-261
                                                      *
v.                                                    *
                                                      *      In Admiralty
M/V LAURA GAIL, bearing                               *      In Rem
official no. 1105173, her hull, tackle,               *
gear, appurtenances, etc., in rem                     *
                                                      *
         Defendant                                    *

                                    VERIFIED COMPLAINT

         Plaintiff Waterways Towing & Offshore Services, Inc. files this Verified Complaint

against the M/V LAURA GAIL, which bears official number 1105173, and states as follows:

         1.      This is a case of admiralty and maritime jurisdiction for enforcement of a

maritime lien for dockage, as hereinafter more fully appears, and is an admiralty or maritime

claim within the meaning of Rule 9(h) of the Federal Rules of Civil Procedure brought pursuant

to 28 U.S.C. § 1333 and Rule C of the Supplemental Rules for Certain Admiralty and Maritime

Claims.

         2.      Plaintiff Waterways Towing & Offshore Services, Inc. (“Waterways”) is a

Alabama corporation with its principal place of business in Mobile, Alabama.

         3.      Defendant M/V LAURA GAIL (sometimes referred to herein as “Vessel”) is a

tug boat whose official documentation number is 1105173. The Vessel is currently owned by

S.P. Investments Inc., a foreign corporation with its principal place of business in Georgetown,

Guyana.

         4.      Defendant is now within the jurisdiction of this Honorable Court.
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        5.       At the request of S.P. Investments, Inc., Plaintiff Waterways has provided

dockage services to Defendant Vessel since October 2021. The Vessel is currently docked at

Plaintiff’s facility.

        6.       Defendant Vessel is liable for dockage fees of $53.85 per day since September

2023, a service charge of 1.5% per month (18% per year) on all overdue invoices, Plaintiff’s

attorney’s fees, and other costs and expenses of collection.

        7.       Waterways has not been paid for the dockage services provided to Defendant

Vessel since September 2023. Waterways is currently owed $19,167.43 for dockage and late

fees, plus interest, attorney’s fees, and other costs and expenses of collection.

        8.       The amounts due Waterways constitute a maritime lien on the Vessel pursuant to

applicable maritime law, 46 U.S.C. § 31342, and Rule C of the Supplementary Rules for Certain

Admiralty and Maritime Claims.

        WHEREFORE, Plaintiff prays that:

                 a.     Process in due form of law according to the rules and practices of this

                        Court in cases of admiralty and maritime jurisdiction issue against the

                        M/V LAURA GAIL, its hull, tackle, gear, appurtenances and all

                        accessories thereto, and that all persons having or claiming any interest

                        therein may be cited to appear and answer the matters aforesaid;

                 b.     This Court enter judgment, in rem, in favor of Plaintiff against Defendant

                        Vessel in the amounts due Plaintiff, plus interest, attorney’s fees, and other

                        costs and expenses of collection;

                 c.     The Defendant Vessel be condemned and sold to pay the amount due to

                        Plaintiff; and




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             d.     Plaintiff may have such other, further and different relief as justice may

                    require.

      Dated: July 30, 2024


                                          /s/ Paul T. Beckmann
                                          PAUL T. BECKMANN (BECKP0493)
                                          Attorney for Plaintiff Waterways Towing &
                                          Offshore Services, Inc.

OF COUNSEL:

HAND ARENDALL LLC
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PLEASE ARREST THE M/V LAURA GAIL AT THE PREMISES OF WATERWAYS
TOWING & OFFSHORE SERVICES, INC., 91 HARDWOOD LANE, MOBILE,
ALABAMA 36611.




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